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IN THE UNITED STATES DISTRICT COURT CLEVELAND"
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) : :
» 1:24 CR 00192
v. ) CASE NO.
) Title 18, United States Code,
MITCHIRAL SMITH, ) Sections 922(g)(1), 924(a)(8);
) Title 21, United States Code,
Defendant. ) Sections 841(a)(1) and (b)(1)(C)
JUDGE R
COUNT 1 Ulz
(Felon in Possession of Firearm and Ammunition, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))
The Grand Jury charges:
1. On or about October 30, 2023, in the Northern District of Ohio, Eastern Division,

Defendant MITCHIRAL SMITH, knowing he had previously been convicted of crimes, each
punishable by imprisonment for a term exceeding one year, those being: Aggravated Robbery,
on or about August 23, 1999, in Case Number CR-99-375457, in Cuyahoga County Court of
Common Pleas; Aggravated Robbery, on or about August 23, 1999, in Case Number CR-99-
375458, in Cuyahoga County Court of Common Pleas; Aggravated Robbery, on or about August
25, 1999, in Case Number CR99-375459, in Cuyahoga County Court of Common Pleas;
Aggravated Robbery, on or about April 7, 2006, in Case Number CR-05-473965, in Cuyahoga
County Court of Common Pleas; Trafficking in Drugs, on or about April 18, 2006, in Case
Number CR-05-468168, in Cuyahoga County Court of Common Pleas; Aggravated Robbery, on
or about May 30, 2006, in Case Number CR-05-470361, in Cuyahoga County Court of Common

Pleas; and Robbery, on or about, March 19, 2020, in Case Number CR-19-638880, in Cuyahoga
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County Court of Common Pleas, knowingly possessed a firearm, to wit: a Glock, model 27, .40
caliber, semiautomatic pistol bearing serial number BUWL387, said firearm having been shipped
and transported in interstate commerce, in violation of Title 18, United States Code, Sections
922(g)(1) and 924(a)(8).

COUNT 2
(Possession with Intent to Distribute Cocaine, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury further charges:

2. On or about October 30, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MITCHIRAL SMITH did knowingly and intentionally possess with the intent to
distribute a mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
(b)(1)(C).

COUNT 3
(Possession with Intent to Distribute Protonitazene, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury further charges:

3. On or about October 30, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MITCHIRAL SMITH did knowingly and intentionally possess with the intent to
distribute a mixture and substance containing a detectable amount of protonitazene, a Schedule I

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b))CO).
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FORFEITURE

The Grand Jury further charges:

4, The allegations contained in Counts 1 through 3 are hereby re-alleged and
incorporated by reference as if fully set forth herein for the purpose of alleging forfeiture
pursuant to Title 21, United States Code, Section 853 (drug offenses) and Title 18, United States
Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c) (firearms offense).
As a result of the foregoing offenses, Defendant MITCHIRAL SMITH shall forfeit to the United
States, any and all property constituting, or derived from, any proceeds he obtained, directly or
indirectly, as the result of the drug offenses charged herein; any and all of his property used - or
intended to be used - in any manner or part, to commit or to facilitate the commission of the drug
offenses charged herein; and, all firearms and ammunition involved in or used in the commission
of the firearms offense charged herein; including, but not limited to, the following: a Glock

semiautomatic pistol bearing serial number BUWL387 and ammunition.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
